Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3739 Page 1 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3740 Page 2 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3741 Page 3 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3742 Page 4 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3743 Page 5 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3744 Page 6 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3745 Page 7 of 8
Case 2:09-cr-00075-LRS   ECF No. 644   filed 03/18/11   PageID.3746 Page 8 of 8
